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Office of the New York State                                                           Letitia James
Attorney General                                                                    Attorney General


                                         February 27, 2025

Via ECF

The Honorable Gary R. Brown
United States District Court for the Eastern District of New York
100 Federal Plaza, Courtroom 940
Central Islip, New York 11722

               Re: McGregor v. Suffolk County, No. 23 Civ. 1130 (GRB) (ARL)

Dear Judge Brown,

        I write on behalf of Intervenor Letitia James, Attorney General of the State of New York,
to request a two week-adjournment the upcoming briefing deadline on the parties’ cross-motions
for summary judgment. All parties have conferred pursuant to Your Honor’s Individual Rule I and
are in agreement regarding proposed dates. The additional time is necessary due to the press of
summary judgment deadlines in another case, the temporary absence of team members, and a
recent family tragedy affecting counsel for Suffolk County.

        We request that the deadline for Defendants’ opposition and cross-motions, currently set
for next Wednesday, March 5, be adjourned to March 19. Plaintiffs’ reply and opposition to the
cross-motion would be due April 21, and Defendants’ reply on the cross-motion on May 4. We
thank the Court for its time and consideration of this request.

                                                       Respectfully submitted,


                                                       James M. Thompson
                                                       Special Counsel
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cc:    Counsel for all parties (via ECF)




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